                Case 3:25-mj-00511-TOF                   Document 1          Filed 05/28/25          Page 1 of 1


AO 91 Criminal Complaint - Revised 4/20



                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of Connecticut

                  United States of America                          )
                             V.                                     )
                                                                    )      Case No.   3:25MJ511 (TOF)
                    Julius Jordan Priester                          )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     May 27, 2025                in the county of              Hartford         in the
                        District of       CT and elsewhere      , the defendant(s) violated:

             Code Section                                                     Offense Description
49 U.S.C. § 46504                                Interference with flight crew members and attendants




          This criminal complaint is based on these facts:

See attached Affidavit of FBI Special Agent Alan Szulwach, which is incorporated herein by reference.



                                                                                                               i
                                                                                                               I


          ~ Continued on the attached sheet.




                                                                                      Alan Szulwach, Special Agent, FBI
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:             05/28/2025



City and state:                       Hartford, Connecticut                    Hon. Thomas 0. Farrish, U.S. Magistrate Judge
                                                                                               Printed name and title
